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                        EXHIBIT C




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           Case 16-32555
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                      IN THE UNITED STATES BANV UN W COURT
                        FOR TH E SOW HEM DISTRIW OF TEXAS                                 ENTERED
                                  HOUSTON DIW SION                                        08/15/2017

        IN RE:
        VICTOR SGKNUEL GALLEOOS                      CaseNo.16-32555
        A /aV&V OTR TYRES W ORLDW IDE,               Chapter13
        œ aOTR TYRES W OM DW IDE,
        a/k/aV&V OTR TYRES
              Debtor
                                               9
                                               -




        RONALD J.SOM MERSTRUSTEE               9
            Plaintil                           9     Adverso No.16-03285
        VS

        M INING GLOBAL CORPOM TION,
        VICTOR ISRAEL GALLEGOS,                û
              Dtfendants                       û
                ORDER ON PLAINTIFF'SM OTION FOR ALTERNATIVE SERVICE
                                           r'q)
               IN HOUSTON ,TEXAS,eAme on for consideration the Trustee's M otion for
        Altem ativeService.n ex Y ing good causeshou to Fantthe xliefrequested;itis

               ORDERED thatthe M otion isO- nted;anditisfurther

               ORDERED thatserviceoftheNoticeofDem sitionand Subpyenaissuëcient
        when served by srst class m ail, postage pmpaid and certised mml. rehlm receipt
        requested asfollows:
                           VictorM anualGallegos
                           7910 AnlA St= t
                           H oustow Texas77012)

        and itis
               ORDERED thatupon altem ative service,the Tm stc shall5le a certiscate of
        service.


        DATED: $ A- 7,/                  sloxso,
                                        JEFF BOIIM
                                        UN ITED STA TES BAN KRU PTCY JUD GE




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    Case 21-03020-sgj
           Case 16-32555
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        APPROVED AND ENTRY REQUESTED:
       THE GERGER LAW FIRM ,PLLC

        By:/J/Alan S.Gerzer
                     .-   -

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        AW OO     YS FOR RONALD J.SOM M ERS,CHAPTER 7 TRUSW E




                                                                               UBS090
